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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
------------------------------------------------------- X
COLLEGE ESSAY OPTIMIZER, LLC,                           :
d/b/a COLLEGE ESSAY ORGANIZER, and                      :   Case No. 19-cv-18410
METRO ACADEMIC PREP, INC.                               :
                                                        :
                       Plaintiffs,                      :   COMPLAINT
                                                        :
         -against-                                      :
                                                            JURY TRIAL DEMANDED
                                                        :
SIMPLE SOLUTIONS, INC.,                                 :
                                                        :
                       Defendant.
                                                        :
                                                        :
------------------------------------------------------- X

         Plaintiffs College Essay Optimizer, LLC d/b/a College Essay Organizer and Metro

Academic Prep, Inc., by their attorneys, Nixon Peabody LLP, as and for their Complaint against

Defendant Simple Solutions, Inc., hereby allege as to their own actions, and upon information

and belief as to the actions of others, as follows:

                                           NATURE OF ACTION

         1.       This action arises out of the wrongful acts of Defendant Simple Solutions, Inc.

(“Defendant” or “Simple Solutions”) in failing to properly manage and maintain Plaintiffs’

valuable website and critical information contained therein. Due to Defendant’s improper

actions and negligence, Plaintiffs’ have suffered a total catastrophic loss of the website, the data,

and the ability to continue as a business.

         2.       Plaintiff College Essay Optimizer, LLC d/b/a College Essay Organizer’s (“CEO”)

is in the business of organizing college essay requirements and providing an essay management

system—called Essay Roadmap®—for college applicants, parents, school counselors, and

independent consultants in the field of college admission testing and applications, particularly

with respect to college admission essays. CEO has spent countless hours over the last ten years
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performing research to compile data regarding college essay requirements in order to build its

cutting-edge essay management system.

       3.      Plaintiff Metro Academic Prep, Inc. (“MAP,” together with CEO, “Plaintiffs”) is

a tutoring company that assists high school and college students with admissions, standardized

test preparation, and academic tutoring. CEO was an outgrowth of MAP’s work guiding high-

achieving students through the college admissions process. CEO was developed as an easy-to-

use online tool to streamline the college essay and application process for students worldwide as

they prepare for one of the biggest challenges of their lives. For the last two years leading up to

April 2019, MAP has successfully utilized CEO as an operational tool for marketing and lead

generation.

       4.      Simple Solutions markets itself as a “full-service internet development, design

and marketing company.” It employs a “team of web developers, database engineers, project

managers, graphic designers, social media and search engine marketers,” who have experience

“developing complex web applications, redesigning websites, customizing e-commerce

environments, managing paid search campaigns, and optimizing websites to improve search

engine rankings.”

       5.      Pursuant to an agreement between CEO and Simple Solutions, it was Simple

Solutions’ obligation to, among other things, maintain the CEO website (located initially at the

domain www.collegeessayoptimizer.com and eventually moved to the domain

www.collegeessayorganizer.com (the “CEO website”)), and to ensure there were sufficient

backups of CEO data in order to prevent against a loss of data in the event of a hardware failure.

       6.      The CEO website has played an integral role in the business model of MAP,

which is the primary member of CEO.



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       7.      In April 2019, due to Defendant’s wrongful acts, CEO’s server and hard drives

crashed during a server upgrade, resulting in the permanent loss of nearly two years’ worth of

critical data that comprised the entirety of Plaintiffs’ work on this business to date.

       8.      This incident was caused by the negligent acts or omissions of Simple Solutions.

The loss of data was catastrophic to both CEO and MAP: the CEO website is now useless and

beyond repair, and CEO and MAP have lost their most critical operational tools for marketing

and lead generation.

       9.      Accordingly, CEO and MAP bring this action for a declaratory judgment and to

recover related damages for the substantial harm caused to them by Simple Solutions.

                                          THE PARTIES

       10.     College Essay Optimizer, LLC d/b/a College Essay Organizer is a limited liability

company organized and existing under the laws of the State of New Jersey, with its principal

place of business in the State of New York.

       11.     CEO has two members: Metro Academic Prep, Inc. and A-List Education, LLC.

MAP is a corporation organized and doing business under the laws of the State of New York,

with its principal place of business is in the State of New York.

       12.     Upon information and belief, no member of A-List Education, LLC is a citizen or

resident of the State of Maine.

       13.     Upon information and belief, Simple Solutions, Inc. is a corporation organized

and doing business under the laws of the State of Maine, with its principal place of business in

the State of Maine.

                                  JURISDICTION AND VENUE

       14.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)



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because the parties are completely diverse and the amount-in-controversy exceeds the sum or

value of $75,000 exclusive of interest and costs.

       15.     This Court has subject matter jurisdiction over this action for declaratory relief

pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 and Rule 57 of

the Federal Rules of Civil Procedure.

       16.     An actual justiciable controversy within the meaning of 28 U.S.C. § 2201 exists

between CEO and MAP, on the one hand, and Simple Solutions, on the other, regarding whether

Simple Solutions has an obligation to indemnify CEO and/or MAP under the terms of the

parties’ written agreement.

       17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(3), and because

Defendant waived any objection based on improper venue or forum non conveniens to the

conduct of any proceedings in the state or federal courts of the State of New Jersey in the parties’

written agreement.

       18.     This Court has personal jurisdiction over Simple Solutions because Defendant

consented to the exclusive jurisdiction of the state and federal courts of the State of New Jersey

for purposes of any proceedings arising out of the parties’ written agreement. Moreover,

Defendant has certain minimum contacts with New Jersey such that the maintenance of the suit

does not offend traditional notions of fair play and substantial justice.

                                         ALLEGATIONS

                                          The Agreement

       19.     On or about June 28, 2009, CEO entered an Independent Contractor Agreement

with Simple Solutions (the “Agreement”), under which, among other things, Simple Solutions

was engaged to perform certain services for CEO as an independent contractor with respect to



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the CEO website—an ecommerce website that allows users to access college essay information

for colleges’ and universities’ admission applications.1

           20.      When CEO and Simple Solutions entered the Agreement, the contracting parties

intended that MAP would be a third-party beneficiary of the contract. Specifically, from the

outset of the Agreement, Simple Solutions was aware that the CEO website would be used to,

among other things, engage with students, parents, and schools to establish relationships with

MAP and CEO—ranging from 1-on-1 test preparation, 1-on-1 college admissions support,

partnerships with schools that resulted in diagnostic SAT/ACT testing, and referrals to private

clients (students/parents) from those schools.

           21.      Pursuant to paragraph 1 of the Agreement, Simple Solutions was specifically

engaged to perform the Services set forth in Exhibit A to the Agreement.

           22.      Those Services include, in relevant part, as follows:

           Contractor shall implement and maintain the CEO website and shall provide
           continued technology and marketing development of the website and all web assets
           associated therewith. Contractor agrees that the Services shall include establishing,
           providing and maintaining, at all times throughout the Term, an interface between
           the CEO website and any server or electronic mail applications utilized by CEO in
           connection with its business. Simple Solutions shall make every reasonable effort
           to maintain operation of the CEO website however because many internet
           connectivity events and circumstances are beyond the control of Simple Solutions,
           Simple Solutions is not responsible for any delay or loss of data, lack of connection,
           slow connection, or any other such issues, except for any extended or unreasonable
           delays or losses caused directly by the actions or inactions of Simple Solutions.
           Simple Solutions will maintain redundant backups of data (code/database) on a
           regular basis and provide CEO with the ability to download/receive code/database
           backups. Simple Solutions will also provide CEO with 24/7/365 cell phone support
           and make every reasonable effort to ensure that collegeessayoptimizer.com is
           online and functioning with proper data and adequate speed.

See Agreement, Exhibit A.

           23.      The Term of the Agreement commenced on the date it was entered, and was to


1
    Capitalized terms shall have the meanings given to them in the Agreement.

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“continue in full force and effect until the earlier to occur of (a) Contractor’s completion of the

Services to the full satisfaction of CEO, or (b) one year after the date hereof.” Agreement ¶ 3.

Significantly, the Agreement provides that the Term “shall be automatically renewed for an

additional one-year period upon the terms and conditions stated herein unless (a) CEO has

previously notified Contractor that the Services have been completed, or (b) either party has

notified the other in writing not less than ninety (90) days prior to the end of the Term of such

party’s decision to terminate the Agreement.” Id.

       24.     The Agreement was in full force and effect at all times relevant to this dispute.

       25.     Paragraph 7 of the Agreement sets forth Simple Solutions’ defense and indemnity

obligations.

       26.     Specifically, Simple Solutions agreed “to indemnify, defend and hold CEO

harmless from and against any liability arising out of or in connection with (i) the negligent or

willful acts of Contractor in the performance of its obligations hereunder, or (ii) the breach of

Contractor of any of its obligations hereunder.”

       27.     Simple Solutions makes certain Representations and Warranties in the

Agreement, including, among others, “that Contractor possesses the training, skills and expertise

necessary to perform the Services in a competent and professional manner”; and that “Contractor

agrees to provide the Services in a professional manner, using that degree of care and skill

ordinarily exercised by and consistent with the standards of competent service providers

performing comparable services in the same or similar locality.” Agreement ¶ 8(a).

       28.     Paragraph 11 of the Agreement provides the following with respect to Governing

Law and Jurisdiction:

       This Agreement shall be governed and construed by the laws of the State of New
       Jersey. Each party hereby irrevocably submits to the exclusive jurisdiction of the


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          state and federal courts of the State of New Jersey for purposes of any proceedings
          arising out of this Agreement. Each party waives any objection which it may have
          based on lack of personal jurisdiction, improper venue or forum non conveniens to
          the conduct of any proceeding in any such court and waives personal service of any
          and all process upon such party.

                                         The CEO Website

          29.    Since at least as early as August 1, 2009, CEO has continuously provided college

admissions services throughout the United States and the world for college applicants, parents,

school counselors, and independent consultants, particularly with respect to college admission

essays.

          30.    CEO operates a website at www.collegeessayorganizer.com, which it has

continuously operated for more than ten years to provide its services throughout the United

States and the world. CEO’s website specifies the services it provides.

          31.    Through the CEO website, CEO delivers users all School Application and

Common Application supplemental questions in one place. After establishing an account with

CEO, a user receives access to the following information with respect to the schools to which a

student intends to apply: (i) all required essay questions; (ii) each college’s optional, program-

specific, special applicant, and scholarship essay questions; (iii) each essay’s exact length listed

by word limit or character count; (iv) deadlines for regular decision, early decision, early action,

rolling admission, and special programs; and (v) each college’s key statistics (including SAT,

ACT and GPA).

          32.    The CEO website also provides access to CEO’s Essay Roadmap® technology,

which shows students all of their required college application essay questions in one place and

how those essay questions overlap. This groundbreaking algorithm allows students to write the

fewest essays possible and work smarter.

          33.    Simple Solutions implemented the CEO website and, since 2009, has performed

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various services for CEO with respect to the CEO website, including those Services set forth in

Exhibit A to the Agreement.

       34.     In consideration of these alleged services, CEO has paid Simple Solutions more

than $250,000 since 2009.

       35.     From approximately in 2009 until 2017, CEO charged customers to use the tools

available on the CEO website. In 2017, however, CEO changed its business model. Rather than

charge customers for use of the CEO website, MAP began to utilize the website as an operational

tool for MAP’s employees, a marketing tool for MAP’s services, and lead generation tool for

MAP’s services. Specifically, students of parochial and boarding schools were provided with

free access to the CEO website and tools. Upon establishing an account on the CEO website,

MAP received important member data regarding each new user, including users’ names, contact

information, and personalized college lists. MAP used this member data to, among other things,

distribute marketing materials and notifications to attend webinars. Students who were

introduced to MAP through CEO enrolled with MAP for tutoring and other college preparatory

services. The average spend for a converted client to MAP is approximately $10,000, and in

many cases far exceeds this figure. In the end, the change in CEO’s business model led to

massive increases in revenue and profit to MAP.

       36.     CEO’s valuation is directly tied to its ability to serve all MAP purposes;

specifically, as an operational tool, for marketing, and for lead generation.

       37.     Simple Solutions was well aware of the change to the CEO business model that

took place in 2017; indeed, CEO paid Simple Solutions more than $15,000 since 2017 to

transform the CEO website (e.g., by installing new features) so that it could be used as an

operational, marketing, and lead generation tool for MAP moving forward.



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                        The April 2019 Server and Hard Drive Crash

        38.    In early February 2019, Simple Solutions advised CEO that a server upgrade was

necessary on the server that supported the CEO website.

        39.    Over the next two months, through the course of conversations, CEO and Simple

Solutions ultimately agreed that the server upgrade would be performed on or about April 23,

2019.

        40.    Upon information and belief, the server upgrade was performed by Simple

Solutions and/or at Simple Solutions’ direction and control, Add2Net, Inc. d/b/a Lunarpages

Internet Solutions (“Lunarpages”)—the company that has hosted the CEO website since

approximately 2009.

        41.    Upon information and belief, on April 23, 2019, Simple Solutions and/or

Lunarpages began preparing for the server upgrade by, among other things, commencing a

manual backup of the server.

        42.    On April 23, 2019, during the course of preparing for or performing the server

upgrade, the server that supported the CEO website crashed twice, and both hard drives on which

Simple Solutions and/or Lunarpages stored the CEO database crashed, corrupting the backups

(the “April 2019 incident”).

        43.    On information and belief, Simple Solutions caused the April 2019 incident

through its negligent acts or omissions.

        44.    On information and belief, Simple Solutions negligently failed to maintain

adequate backups of the CEO website.

        45.    As a result of the April 2019 incident, CEO lost nearly two years of information,

research, and development work (CEO paid Simple Solutions more than $15,000 for



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development work alone since 2017); particularly, all of its member data (members’ names,

contact information, and personalized college lists), school data, and essay requirement data

from approximately June 2017 through April 2019—thousands of entries that CEO worked

meticulously to compile. CEO also lost three years of blog entries, and total functionality of the

CEO website for nearly one week. CEO will not regain proper functionality of the CEO website.

       46.     The aforementioned data and other information that was lost as a result of the

April 2019 incident were critical to the business success and growth of MAP and CEO. CEO

paid researchers to collect this data, and uploaded it to the CEO database via a detailed, time-

consuming algorithm. CEO’s value comes from its data. Moreover, CEO had proven incredibly

valuable to MAP over the last two years since MAP had begun using CEO as an operational tool,

for marketing, and for lead generation.

       47.     CEO also lost many, if not all, of the upgrades to the CEO website that it paid

Simple Solutions to implement since April 2017—upgrades that were implemented to transform

the CEO website’s intended usability as an operational, marketing, and lead generation tool for

MAP.

       48.     Prior to the April 2019 incident, CEO had provided accurate, up-to-date data to its

users for nearly ten years. Because of the April 2019 incident, however, the data available on the

CEO website is now outdated and effectively worthless to any potential users.

       49.     As evidence of the damage caused to CEO, the usage and logins to the CEO

website prior to the April 2019 incident were extremely high, but since the April 2019 incident

CEO and MAP have been unable to promote CEO’s usage to any new members or schools.

Additionally, since the April 2019 incident, CEO and MAP have received concerns and

questions from, among others, schools that typically utilize the CEO website. For the first time



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since CEO’s inception, CEO is not being used by any members, including students, parents,

MAP employees, or schools, for this 2019-2020 college application season.

       50.     The CEO website is now entirely useless. MAP is no longer able to use CEO as a

tool for operational, marketing, and/or lead generation purposes.

       51.     The CEO website—managed solely by Simple Solutions—was home to the

aforementioned data and information.

       52.     Moreover, CEO understood, via the Agreement with Simple Solutions, and the

communications between the parties, that Simple Solutions was maintaining daily backups and

had set up a dedicated server to prevent the need for any additional backups. As an example, in

September 2009 (approximately three months after the Agreement was entered), Simple

Solutions informed CEO that “it [was] probably not necessary for [CEO] to take [its] own

backups” because “[t]he database is backed up automatically on a separate server, and [Simple

Solutions does its] own manual backups too.” As another example, in July 2015, Simple

Solutions advised that it had “a complete backup of all site files at another location off your CEO

server.”

       53.     This turned out to be false. Simple Solutions failed to maintain sufficient backups

of the CEO website. In fact, Simple Solutions was able to recover data only through May 2017

because CEO alone had in its possession a backup of the website through and up to that time

period. Simple Solutions had a backup of the CEO website from a much earlier time, rendering

that backup worthless.

       54.     As a result of the April 2019 incident, CEO has suffered damage in the form of,

among other things, lost member data, lost development work, lost research data, permanent loss

of function to the CEO website, and devastating damage to its reputation. Moreover, MAP has



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suffered damage because of the April 2019 incident in the form of lost ability to use the CEO

website as an operational, marketing, or lead generation tool, and thus future lost profits.

        55.     CEO and MAP have been damaged in an amount that cannot be readily

determined at present, but which is believed to be greater than $1,250,000.

                                  FIRST CAUSE OF ACTION
                                    (Declaratory Judgment)

        56.     Plaintiffs repeat and reallege the allegations set forth above as though fully set

forth herein.

        57.     CEO and Simple Solutions are parties to the Agreement, which is a valid and

enforceable contract, and was in effect at all relevant times.

        58.     MAP is, and was at all relevant times, an intended third-party beneficiary of the

Agreement.

        59.     Paragraph 11 of the Agreement requires Simple Solutions “to indemnify, defend

and hold CEO harmless from and against any liability arising out of or in connection with (i) the

negligent or willful acts of Contractor in the performance of its obligations hereunder, or (ii) the

breach of Contractor of any of its obligations hereunder.”

        60.     At all relevant times, CEO and MAP acted in accordance with the Agreement and

performed all of their obligations thereunder.

        61.     There is presently a justiciable dispute and actual controversy and disagreement

between CEO and MAP, on the one hand, and Simple Solutions, on the other, regarding whether

Simple Solutions must indemnify CEO and/or MAP under the terms of the Agreement for acting

negligently and/or willfully, and breaching one or more of its obligations under the Agreement,

in bringing about the April 2019 incident and/or in failing to maintain adequate backups of CEO

data.


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       62.      Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202,

CEO and MAP in good faith request that the Court declare that Simple Solutions must indemnify

CEO and MAP for any and all liability and damage that it caused to CEO and MAP in

connection with the April 2019 incident, pursuant to the terms of the Agreement.

                                 SECOND CAUSE OF ACTION
                                  (Contractual Indemnification)

       63.      Plaintiffs repeat and reallege the allegations set forth above as though fully set

forth herein.

       64.      CEO and Simple Solutions are parties to the Agreement, which is a valid and

enforceable contract, and was in effect at all relevant times.

       65.      MAP is, and was at all relevant times, an intended third-party beneficiary of the

Agreement.

       66.      Paragraph 11 of the Agreement requires Simple Solutions “to indemnify, defend

and hold CEO harmless from and against any liability arising out of or in connection with (i) the

negligent or willful acts of Contractor in the performance of its obligations hereunder, or (ii) the

breach of Contractor of any of its obligations hereunder.”

       67.      At all relevant times, CEO and MAP acted in accordance with the Agreement and

met all of their obligations thereunder.

       68.      Simple Solutions acted negligently and/or willfully, and breached one or more of

its obligations under the Agreement, in bringing about the April 2019 incident and/or in failing to

maintain adequate backups of CEO data.

       69.      Simple Solutions is therefore contractually obligated to indemnify CEO for all

liability and damage that Simple Solutions caused to CEO by reason of the aforementioned

negligent and/or willful acts, as well as because of its breach of the Agreement.


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        70.     Simple Solutions is also obligated to indemnify MAP—as an intended third-party

beneficiary of the Agreement—for all liability and damage that Simple Solutions caused to MAP

by reason of the aforementioned negligent and/or willful acts, as well as because of its breach of

the Agreement.

        71.     Simple Solutions has directly and proximately caused damage to CEO and MAP

in an amount that cannot be readily determined at present, but which is believed to be greater

than $1,250,000, and pursuant to the terms of the Agreement, must indemnify CEO and MAP for

their respective losses.

                                  THIRD CAUSE OF ACTION
                                     (Breach of Contract)

        72.     Plaintiffs repeat and reallege the allegations set forth above as though fully set

forth herein.

        73.     CEO and Simple Solutions are parties to the Agreement, which was valid and in

effect at all relevant times.

        74.     MAP is, and was at all relevant times, an intended third-party beneficiary of the

Agreement.

        75.     Under the Agreement, Simple Solutions was specifically engaged to perform the

following Services for CEO, among others: to “implement and maintain the CEO website”; to

“establish[], provid[e] and maintain[], at all times throughout the Term, an interface between the

CEO website and any server or electronic mail applications utilized by CEO in connection with

its business”; to “make every reasonable effort to maintain operation of the CEO website”; to

“maintain redundant backups of data (code/database) on a regular basis and provide CEO with

the ability to download/receive code/database backups”; and to “make every reasonable effort to

ensure that collegeessayoptimizer.com is online and functioning with proper data and adequate


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speed.” Agreement, ¶ 1 and Exhibit A.

       76.      Simple Solutions also represented and warranted that it “possesses the training,

skills and expertise necessary to perform the Services in a competent and professional manner”;

and that it “agrees to provide the Services in a professional manner, using that degree of care and

skill ordinarily exercised by and consistent with the standards of competent service providers

performing comparable services in the same or similar locality.” Agreement ¶ 8(a).

       77.      At all relevant times, CEO and MAP acted in accordance with the Agreement and

performed all of their obligations thereunder.

       78.      By causing the April 2019 incident through its acts and/or omissions, and by

failing to maintain sufficient backups of the CEO website, Simple Solutions breached the above-

referenced terms of the Agreement, among others, and thereby directly and proximately caused

damage to CEO and MAP in an amount that cannot be readily determined at present, but which

is believed to be greater than $1,250,000.

                                 FOURTH CAUSE OF ACTION
                                       (Negligence)

       79.      Plaintiffs repeat and reallege the allegations set forth above as though fully set

forth herein.

       80.      Simple Solutions was under a duty of care to CEO and MAP to, among other

things, make every reasonable effort to maintain the CEO website, ensure that the CEO website

was online and functioning at all times, and ensure that there were sufficient backups of the CEO

website in the event of a hardware or software malfunction that caused loss of data.

       81.      By causing the April 2019 incident through its acts and/or omissions, and by

failing to maintain sufficient backups of the CEO website, Simple Solutions breached the

aforementioned duties, among others, that it owed to CEO and MAP.


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       82.      As a direct and proximate result of the Simple Solutions’ breach(es), CEO and

MAP have been damaged in an amount that cannot be readily determined at present, but which is

believed to be greater than $1,250,000.

       83.      The losses suffered by CEO and MAP were foreseeable to Simple Solutions.

                                  FIFTH CAUSE OF ACTION
                                     (Unjust Enrichment)

       84.      Plaintiffs repeat and reallege the allegations set forth above as though fully set

forth herein.

       85.      Defendant received a benefit from CEO in the form of, among other things,

payment for Services under the Agreement amounting to more than $250,000 since 2009.

       86.      Defendant’s retention of the aforementioned benefit would be unjust.

       87.      CEO expected remuneration from Defendant at the time it conferred the benefit.

       88.      A reasonable person in Defendant’s position would have expected to provide

remuneration for the benefit conferred on it by CEO.

       89.      As a result of the April 2019 incident, Defendant has been unjustly enriched

beyond its contractual rights, in an amount to be proven at trial, but which exceeds $250,000.

                               SIXTH CAUSE OF ACTION
                  (Breach of Implied Duty of Good Faith and Fair Dealing)

       90.      Plaintiffs repeat and reallege the allegations set forth above as though fully set

forth herein.

       91.      Defendant was bound by a duty of good faith and fair dealing in both the

performance and enforcement of the Agreement.

       92.      Defendant was precluded from doing anything that would have the effect of

destroying or injuring the right of CEO and MAP to receive the benefits of the Agreement



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       93.    By causing the April 2019 incident through its acts and/or omissions, and by

failing to maintain sufficient backups of the CEO website, Defendant acted in bad faith and,

consequently, denied CEO and MAP the benefits of the Agreement.

       94.    As a direct and proximate result of the Simple Solutions’ breach(es), CEO and

MAP have been damaged in an amount that cannot be readily determined at present, but which is

believed to be greater than $1,250,000.

                                   PRAYER FOR RELIEF

       WHEREFORE Plaintiffs pray for relief as follows:

       a. On Plaintiffs’ First Cause of Action, for a declaration that Simple Solutions must
          indemnify CEO and MAP for any and all liability and damage that it caused to CEO
          and MAP in connection with the April 2019 incident, pursuant to the terms of the
          Agreement;

       b. On Plaintiffs’ Second Cause of Action, awarding money damages, in an amount to be
          determined at trial, the exact amount of which cannot be ascertained at present but
          which is believed to be in excess of $1,250,000;

       c. On Plaintiffs’ Third Cause of Action, awarding money damages, in an amount to be
          determined at trial, the exact amount of which cannot be ascertained at present but
          which is believed to be in excess of $1,250,000;

       d. On Plaintiffs’ Fourth Cause of Action, awarding money damages, in an amount to be
          determined at trial, the exact amount of which cannot be ascertained at present but
          which is believed to be in excess of $1,250,000;

       e. On Plaintiffs’ Fifth Cause of Action, awarding money damages, in an amount to be
          determined at trial, the exact amount of which cannot be ascertained at present but
          which is believed to be in excess of $250,000;

       f. On Plaintiffs’ Sixth Cause of Action, awarding money damages, in an amount to be
          determined at trial, the exact amount of which cannot be ascertained at present but
          which is believed to be in excess of $1,250,000;

       g. An award for reasonable attorneys’ fees and costs of the suit incurred herein; and

       h. For such other and further relief as the Court may deem just and proper.




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                                       JURY DEMAND

      Plaintiffs hereby demand a trial by jury of all issues properly triable thereby.



Dated: September 26, 2019



                                                  NIXON PEABODY LLP



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